          Case 2:07-cr-00118-WBS Document 113 Filed 04/24/09 Page 1 of 2


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 5
 6
     Attorney for Defendant
 7   FELICIA GRANT
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 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,       ) No. CR-S-07-118 WBS
14                                   )
                    Plaintiff,       )
15                                   ) PROPOSED ORDER DESIGNATING
          v.                         ) INSTITUTION
16                                   )
     FELICIA GRANT,                  )
17                                   )
                    Defendant.       )
18                                   )
     _______________________________ )
19
20
         WHEREAS the court imposed a six month prison sentence on Defendant
21
     on or about April 13, 2009;
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          WHEREAS the defense requests that the Court recommend to the
23
     Bureau of Prisons that FCI Dublin be designated as the facility at
24
     which Defendant shall service her sentence;
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     / / / /
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     / / / /
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     / / / /
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          Case 2:07-cr-00118-WBS Document 113 Filed 04/24/09 Page 2 of 2


 1        THEREFORE, the court directs that the judgment and commitment
 2   order reflect the judicial recommendation that FCI Dublin be designated
 3   as the institution for service of the sentence of imprisonment.
 4          IT IS SO ORDERED.
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                                By the Court,
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     Dated: April 23, 2009
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     Name of Pleading grant order         -2-
